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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 UNITED STATES OF AMERICA,

 v.           CASE NO. 8:12-CR-205-T-17MAP

 CHARLIE L. GREEN.

                                   /


                                         ORDER


        This cause is before the Court on:

        Dkt. 766      Motion in Limine
        Dkt. 767      Response

        Defendant Charlie L. Green moves to exclude testimonial and documentary
 evidence, and reference in opening statements and closing arguments, relating to the
 federal law enforcement agency’s internal reference to the investigation in this matter
 as “Operation Slaughta [Slaughter] House.”


        Defendant Green argues that this information is not relevant, and that the
 probative value of the information is substantially outweighed by a danger of unfair
 prejudice.


        The Government does not oppose Defendant Green’s Motion in Limine.


        After consideration, the Court grants the Unopposed Motion in Limine.
 Accordingly, it is
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         ORDERED that Defendant Green’s Unopposed Motion in Limine (Dkt. 766) to
 exclude testimonial and documentary evidence, and reference in opening statements
 and closing arguments, relating to “Operation Slaughta [Slaughter] House” is granted.




 2016.
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         DONE and ORDERED in Chambers in Tampa, Florida on th is _ z _ a a y of May,




 Copies to:
 All parties and counsel of record




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